         Case 1:24-cv-05772-RA          Document 11        Filed 01/17/25      Page 1 of 2




Jon L. Norinsberg, Esq.
jon@norinsberglaw.com
                                                                     January 16, 2025
VIA ECF
Hon. Ronnie Abrams
United States District Court Judge
Southern District of New York
United States Courthouse
40 Foley Square, Room 1506
New York, N.Y. 10007
(212) 805-0284


                Re: Saunders v. Gotham Buds, LLC
                    Case No. 1:24-cv-05772-RA
                    Status Letter

Dear Judge Abrams:

          We represent Plaintiff Michael Saunders in the above-referenced matter. We write in
response to the Court’s Order dated January 6, 2025, requiring the parties to file a Joint Letter and
Proposed Case Management Plan by January 16, 2025. [Dkt. No. 1]. Specifically, notwithstanding
our persistent actions, including serving Gregory Gray, CEO of Gotham Buds, LLC, they have
failed to appear or otherwise respond to the Complaint. It is our intention to file a motion for
Default Judgment within the next few days, and we respectfully request that this Honorable Court
not dismiss the pending matter.

         Plaintiff initiated this action by filing a Complaint on July 30, 2024 [ECF No. 1]. On
August 30, 2024, an affirmation of service was filed, indicating service upon Gregory Gray, CEO
of Gotham Buds, LLC was effectuated. [Dkt. No. 5] Therefore, Defendant was required to answer
or otherwise respond to the Complaint on or before September 18, 2024 [ECF No. 5]. To date,
neither Defendant directly, nor counsel for Defendant has filed an Answer nor has attempted to
respond to Plaintiff’s numerous requests for their position.
                    Case 1:24-cv-05772-RA            Document 11    Filed 01/17/25     Page 2 of 2
                                                                                                           2


                    We have made several attempts to contact the Defendant directly to obtain their position
           on the matter and to discuss the Court’s Order. Despite our numerous letters and communications,
           we have not received any response from the Defendant nor counsel.

                    We assure the Court that we are prepared to file a motion for Default Judgment against
           the Defendant by January 21, 2025.

                    We respectfully request that the Court not dismiss this case and allow us the opportunity
           to proceed with the prosecution of this matter including Default Judgment.

                     Thank you for your understanding and consideration.


Application granted. Plaintiff shall seek a default
judgment pursuant to the procedure specified in this                Respectfully submitted,
Court's Individual Rules. See Individual Rule 4.F.
Plaintiff shall file a request to enter default no later than       JOSEPH & NORINSBERG, LLC
January 21, 2025. See Individual Rules Att. A.
                                                                    ___________________
SO ORDERED.                                                         Arjeta Albani, Esq.
                                                                    Attorney For Plaintiff
                                                                    110 East 59th Street
__________________                                                  Suite 2300
Hon. Ronnie Abrams                                                  New York, New York 10022
January 17, 2025                                                    (212) 227-5700
                                                                    arjeta@employeejustice.com

           c.c.
           VIA Federal Express & Email
           Gotham Buds, LLC
           C/O Gregory Gray, C.E.O.
           info@gothambudsny.com
